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IN THE UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA

v. - CR. NO. 3:23-CR-00026

CHRISTINA PATACKY-BEGHIN

MOTION FOR ENLARGEMENT OF TIME TO FILE PRETRIAL MOTIONS
AND CONTINUANCE OF TRIAL

AND NOW, comes Defendant, Christina Patacky-Beghin, by and through his counsel,
David S. Glanzberg, Esquire, who files this Motion for Continuance of Pretrial
Motions and Trial, averring as follows:
1. The Defendant was charged by indictment, filed on or about February 14,
2023 with one count of conspiracy to distribute a controlled substance
(21 U.S.C. section 841 (a)(1), 841 (b)(1)(A) & (C) and section 846).
2. Pretrial motions are currently due on October 31, 2023.
3. Discovery on this case is extremely voluminous.
4. The Assistant United States Attorney assigned, Michelle Olshefski, Esq.,
does not oppose Defendant’ srequestfor more time.
5. For the above stated reasons, the Defendant requests a sixty (60) day
extension of time to prepare for trial.
6. Respectfully, failure to grant this request for an extension would likely

result in a miscarriage of justice and deny counsel for the Defendant the
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reasonable time necessary for effective preparation, taking into account
the exercise of due diligence. 18 U.S.C. §3161(h)(7)(A) and (iv).
WHEREFORE, the Defendant, Christina Patacky-Beghin, respectfully
requests that this Honorable Court grant this motion to extend the time to file

pretrial motions for sixty (60) days and the trial to be continued, accordingly.

October 30, 2023 Respectfully Submitted:

/s/ David Glanzberg, Esquire
David S. Glanzberg, Esquire
Attorney for Defendant
Glanzberg Tobia Law, P.C.
123 S. Broad St, Suite 1640
Philadelphia PA 19109
(215) 981-5400

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IN THE UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA
V. CR. NO. 3:23-CR-00026

CHRISTINA PATACKY-BEGHIN
ORDER

AND NOW, this _ day of | _, 2023, upon

consideration of Defendant's Motion to Continue and the Government’s
concurrence therewith, the Court finds that the ends of justice will be served by
affording such an extension. The Court further finds that an extension outweighs
the best interests of the public and the Defendant in a speedy trial, and that any
delay occasioned by this continuance shall be excluded from speedy trial
calculations pursuant to U.S.C. §3161(h)(7).

Accordingly, it is hereby Ordered that Defendant’s Motion is GRANTED.

Defendant shall file pretrial motions no later than 5.20

Jury Selection and Trial will be scheduled after the expiration of the motion
deadline, or, if one or more pretrial motions are filed, or a motion seeking a further
extension of time to file pretrial motions is granted, after the resolution of any such

pretrial motion that may be filed.

United States District Judge
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IN THE UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA

V. CR. NO, 3:23-CR-00026

CHRISTINA PATACKY-BEGHIN

CERTIFICATE OF CONCURRENCE

I, David S. Glanzberg, CJA appointed counsel, certify that | communicated
with Michelle Olshefski, Assistant United States Attorney, and counsel advised
that she concurs in the within motion.

Date: October 30, 2023 /s/ David _Glanzberg

David S. Glanzberg, Esq.
CJA Appointed Counsel

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CERTIFICATE OF SERVICE

I, David S. Glanzberg, Attorney for the Defendant do hereby certify
that this document, the foregoing Motion to Continue Pretrial Motions
and Trial, filed electronically through the ECF system, will be sent to
the registered participants as identified on the Notice of Electronic
filing, including the following:

Michelle Olshefski, Esq.
Assistant United States Attorney

October 30, 2023
/s/ David Glanzberg, Esquire

David S. Glanzberg, Esquire
Attorney for Defendant
